Case 8:17-cv-01522-AG-DFM Document 24 Filed 12/04/17 Page 1 of 9 Page ID #:240




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                                CIVIL MINUTES - GENERAL
  Case No.      SACV 17-01522 AG (DFMx)                                 Date   December 4, 2017
  Title         ROBBIN ROTH v. JAGUAR LAND ROVER NORTH AMERICA, LLC
                ET AL.




  Present: The Honorable       ANDREW J. GUILFORD
            Lisa Bredahl                             Not Present
            Deputy Clerk                      Court Reporter / Recorder              Tape No.
          Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


  Proceedings:           [IN CHAMBERS] ORDER GRANTING MOTION TO
                         COMPEL ARBITRATION IN PART

 This case concerns the enforceability of an arbitration agreement included in a preprinted car
 purchase contract. Plaintiff Robbin Roth purchased a “certified pre-owned” car, distributed
 by Jaguar Land Rover North America (referred to here as “JLR North America”), from
 Jaguar Land Rover Newport Beach (“JLR Newport Beach”). To do so, Plaintiff entered into
 a purchase contract with JLR Newport Beach. But shortly after the sale, the car allegedly
 began showing various defects affecting, among other things, the steering, suspension, and
 exhaust system of the car. Plaintiff sued Defendants JLR North America and JLR Newport
 Beach in state court. Against both Defendants, Plaintiff purportedly alleges claims for
 violations of the Song-Beverly Act, the Magnuson-Moss Act, and the Consumer Legal
 Remedies Act. Plaintiff also purports to allege a claim for violation of California’s Unfair
 Competition Law against JLR Newport Beach.

 Defendants timely removed the case to federal court. Now, relying on the arbitration
 agreement in Plaintiff’s purchase contract, they move to compel arbitration of the claims
 against them and stay the case.

 The Court GRANTS IN PART and DENIES IN PART the motion to compel arbitration.
 (Dkt. No. 16.)
                                              CIVIL MINUTES - GENERAL
                                                      Page 1 of 9
Case 8:17-cv-01522-AG-DFM Document 24 Filed 12/04/17 Page 2 of 9 Page ID #:241




                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA


                              CIVIL MINUTES - GENERAL
  Case No.    SACV 17-01522 AG (DFMx)                             Date   December 4, 2017
  Title       ROBBIN ROTH v. JAGUAR LAND ROVER NORTH AMERICA, LLC
              ET AL.

 1. EVIDENTIARY MATTERS

 Defendants submitted with their motion, among other things, a declaration made by Pam
 Doyle, the Compliance Officer for JLR Newport Beach. (Dkt. No. 16-1.) Plaintiff objects to
 paragraphs 2 to 5 of Doyle’s declaration. (Dkt. No. 22-7.) Plaintiff objects to all of those
 paragraphs based on Defendants’ failure to produce Doyle as a witness for deposition under
 Federal Rule of Civil Procedure 37(c). The Court refuses to rule on that basis, and in any
 event the Court concludes that Defendants’ failure here was harmless.

 Broadly speaking, Plaintiff’s other objections to paragraphs 2 to 4 are about lack of
 foundation and lack of personal knowledge. (Dkt. No. 22-7 at 2–4.) Paragraphs 2 and 3 state
 Doyle’s position, explain what files she reviewed to prepare for her declaration, and describe
 the “custom and practice” of JLR Newport Beach. (Dkt. No. 16-1 at ¶¶ 2–3.) Paragraph 4
 starts by describing part of a JLR Newport Beach form contract. (Id. at ¶ 4.) But the last
 sentence of paragraph 4 states, “Prior to signing the contract, as is the custom and practice
 of JLR Newport Beach, the Plaintiff is given an opportunity to read the back of the contract,
 which could include the arbitration clause.” (Id.) Yet nowhere is there any evidence or even
 assertion that Doyle was present when Plaintiff signed her contract. Therefore, Plaintiff’s
 objections about paragraphs 2 and 3 are overruled, but Plaintiff’s objections about paragraph
 4 are sustained as to the last sentence.

 Finally, Plaintiff objects to paragraph 5, which states that a true and correct copy of the
 purchase contract is attached as Exhibit A. (Dkt. No. 22-7 at 4; Dkt. No. 16-1 at ¶ 5.)
 Plaintiff claims that statement is an improper opinion statement and a legal conclusion. (Id.)
 But Plaintiff isn’t challenging the existence of a contract between her and JLR Newport
 Beach, nor does she seem to be challenging the accuracy of the contents of the contract copy
 attached as Exhibit A. To the contrary, her opposition is rife with quotes from and citations
 to Exhibit A. Plaintiff’s own reliance on Exhibit A for her arguments clearly shows the
 frivolous nature of these last objections, which are overruled.



                                        CIVIL MINUTES - GENERAL
                                                Page 2 of 9
Case 8:17-cv-01522-AG-DFM Document 24 Filed 12/04/17 Page 3 of 9 Page ID #:242




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                 CIVIL MINUTES - GENERAL
  Case No.      SACV 17-01522 AG (DFMx)                               Date    December 4, 2017
  Title         ROBBIN ROTH v. JAGUAR LAND ROVER NORTH AMERICA, LLC
                ET AL.

 2. BRIEF BACKGROUND

 In April 2015, Plaintiff purchased a “certified pre-owned” 2011 Jaguar XJ, distributed by JLR
 North America, from JLR Newport Beach. The total sales price of the car was nearly
 $60,000. (Ex. A, Dkt. No. 16 Page ID 129.) Plaintiff financed her purchase with a loan from
 JLR Newport Beach. To complete the sale and loan, Plaintiff signed a preprinted purchase
 contract, entitled “RETAIL INSTALLMENT SALES CONTRACT – SIMPLE FINANCE
 CHARGE (WITH ARBITRATION PROVISION).” (Id.) The contract title is marked in
 bold capital letters at the top of the contract. (Id.) Almost just below the title, the contract
 lists the parties to the contract, Plaintiff and JLR Newport Beach. (Id.)

 Plaintiff had to sign next to various provisions on the contract, including next to the
 “Agreement to Arbitrate.”

          Agreement to Arbitrate: By signing below, you agree that, pursuant to the
          Arbitration Provision on the reverse side of this contract, you or we may elect to
          resolve any dispute by neutral, binding arbitration, and not by a court action. See
          the Arbitration Provision for additional information concerning the agreement
          to arbitrate.

 (Ex. A, Dkt. No. 16 Page ID 129) (emphasis in original). The “Arbitration Provision”
 mentioned in the Agreement to Arbitrate is found on the back of the contract and is
 announced in bold capital letters. The relevant provisions follow.

          Any claim or dispute, whether in contract, tort, statute or otherwise . . . between
          you and us . . . which arises out of or relates to your credit application, purchase
          or condition of this vehicle . . . shall, at your or our election, be resolved by
          neutral, binding arbitration and not by a court action . . . . You may choose the
          American Arbitration Association . . . (www.adr.org), or any other organization
          to conduct the arbitration subject to our approval . . . .

          You and we retain the right to seek remedies in small claims court for disputes
                                            CIVIL MINUTES - GENERAL
                                                    Page 3 of 9
Case 8:17-cv-01522-AG-DFM Document 24 Filed 12/04/17 Page 4 of 9 Page ID #:243




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                 CIVIL MINUTES - GENERAL
  Case No.       SACV 17-01522 AG (DFMx)                              Date    December 4, 2017
  Title          ROBBIN ROTH v. JAGUAR LAND ROVER NORTH AMERICA, LLC
                 ET AL.

          or claims within that court’s jurisdiction, unless such action is transferred,
          removed, or appealed to a different court. Neither you nor we waive the right to
          arbitrate by using self-help remedies, such as repossession, or by filing an action
          to recover the vehicle, to recover a deficiency balance, or for individual injunctive
          relief.

 (Ex. A, Dkt. No. 16 Page ID 132.) Despite the arbitration agreement in her contract, Plaintiff
 filed a lawsuit against Defendants in state court when she allegedly started experiencing
 problems with her car. Having removed the case to federal court, Defendants now move to
 compel arbitration.

 3. LEGAL STANDARD

 Congress drafted the Federal Arbitration Act (“FAA”) to “overcome judicial resistance to
 arbitration” and “place[] arbitration agreements on equal footing with all other contracts.”
 Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 443 (2006). The FAA thus makes any
 arbitration agreement “valid, irrevocable, and enforceable, save upon such grounds as exist at
 law or in equity for the revocation of any contract,” 9 U.S.C. § 2. While “embod[ying] the
 national policy favoring arbitration,” Buckeye, 546 U.S. at 443, the FAA preserves “generally
 applicable contract defenses, such as . . . unconscionability,” AT&T Mobility LLC v.
 Concepcion, 563 U.S. 333, 339 (2011) (quoting Doctor’s Assocs., Inc. v. Casarotto, 517 U.S. 681,
 687 (1996)). The FAA “leaves no place for the exercise of discretion by a district court, but
 instead mandates that district courts shall direct the parties to proceed to arbitration on issues
 as to which an arbitration agreement has been signed.” Dean Witter Reynolds, Inc. v. Byrd, 470
 U.S. 213, 218 (1985); see also Kilgore v. KeyBank, Nat’l Ass’n, 718 F.3d 1052, 1058 (9th Cir.
 2013). This mandate limits the Court’s role to (1) determining “whether a valid arbitration
 agreement exists,” and (2) deciding “whether the agreement encompasses the disputes at
 issue.” Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1175 (9th Cir. 2014).

 4. ANALYSIS

 Plaintiff argues that the arbitration agreement is unenforceable because it’s unconscionable
                                            CIVIL MINUTES - GENERAL
                                                    Page 4 of 9
Case 8:17-cv-01522-AG-DFM Document 24 Filed 12/04/17 Page 5 of 9 Page ID #:244




                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                               CIVIL MINUTES - GENERAL
  Case No.     SACV 17-01522 AG (DFMx)                              Date   December 4, 2017
  Title        ROBBIN ROTH v. JAGUAR LAND ROVER NORTH AMERICA, LLC
               ET AL.

 and because the parties made a mutual mistake regarding material terms. Even if the
 agreement is enforceable, Plaintiff argues that it doesn’t require her to arbitrate her claims
 against JLR North America, which isn’t a party to the agreement.

          4.1 Enforceability of the Agreement

                4.1.1 Unconscionability

 The party opposing arbitration bears the burden of proving the defense of unconscionability.
 Sanchez v. Valencia Holding Co., LLC, 61 Cal. 4th 899, 911 (2015) (citing Sonic-Calabasas A, Inc.
 v. Moreno, 57 Cal. 4th 1109, 1148 (2013) (“Sonic II”)). To meet that burden, the opposing party
 must prove the agreement is both procedurally and substantively unconscionable. Id. at 910.
 Procedural unconscionability focuses on “oppression or surprise due to unequal bargaining
 power.” Id. (citing Sonic II, 57 Cal. 4th at 1133). Substantive unconscionability exists when the
 contract terms don’t just amount to a bad bargain but unreasonably favor the more powerful
 side. Id. at 911. Procedural and substantive unconscionability need not be present to the
 same degree. Id. at 910. Instead, courts use a sliding scale: “the more substantively oppressive
 the contract term, the less evidence of procedural unconscionability is required to come to
 the conclusion that the term is unenforceable, and vice versa.” Id. (quoting Armendariz v.
 Found. Health Psychcare Servs., Inc., 24 Cal. 4th 83, 114 (2000)).

 Procedural Unconscionability. The arbitration agreement presents at least some level of
 procedural unconscionability because it was presented as an adhesion contract. See Sanchez,
 61 Cal. 4th at 915. Plaintiff argues there was further evidence of surprise because the
 arbitration terms were not meaningfully disclosed to her and because she was not provided a
 copy of the American Arbitration Association, or “AAA,” rules. (Opp’n, Dkt. No. 22 at 7–8.)
 But Defendants were not “required to specifically call” the arbitration provisions to
 Plaintiff’s attention. See Sanchez, 61 Cal. 4th at 915. And “artfully hid[ing]” arbitration rules
 isn’t procedurally unconscionable unless those rules are the specific basis for the claim of
 substantive unconscionability. See Baltazar v. Forever 21, Inc., 62 Cal. 4th 1237, 1246 (2016).
 Here, none of Plaintiff’s substantive unconscionability claims rely on the AAA rules. So,
 overall, the agreement presents a low degree of procedural unconscionability.
                                          CIVIL MINUTES - GENERAL
                                                  Page 5 of 9
Case 8:17-cv-01522-AG-DFM Document 24 Filed 12/04/17 Page 6 of 9 Page ID #:245




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                                CIVIL MINUTES - GENERAL
  Case No.     SACV 17-01522 AG (DFMx)                               Date    December 4, 2017
  Title        ROBBIN ROTH v. JAGUAR LAND ROVER NORTH AMERICA, LLC
               ET AL.

 Substantive Unconscionability. Plaintiff has raised several arguments about the substantive
 unconscionability of the arbitration provision at issue here. Yet the California Supreme Court
 determined that an almost identical arbitration agreement in a car purchase contract was not
 unconscionable. See Sanchez, 61 Cal. 4th at 921–22. This Court therefore finds that the
 arbitration agreement here isn’t substantively unconscionable.

 Sliding Scale. The agreement presents a low degree of procedural unconscionability but isn’t
 “manifestly unfair or one-sided.” See Sanchez, 61 Cal. 4th at 915 (citing Gentry v. Super. Ct., 42
 Cal. 4th 443, 469, 165 P.3d 556, 572 (2007)). That isn’t enough to invalidate the arbitration
 agreement as unconscionable. See id.

                4.1.2 Mutual Mistake of Fact

 When “the meaning of the relevant contractual language is not in dispute, the party alleging
 the mistake . . . bears the burden of proving that a mistake occurred.” Hess v. Ford Motor Co.,
 27 Cal. 4th 516, 525 (2002) (citation omitted). Here, Plaintiff is the one claiming that she
 should be allowed to rescind the contract because a mutual mistake about an essential
 element of the contract affected the contract’s formation. (Opp’n, Dkt. No. 22 at 20.) To
 support her argument, Plaintiff says that she didn’t know what arbitration was when she
 signed the purchase contract, and that there’s no evidence JLR Newport Beach’s “relevant
 employees” knew what arbitration was either. (Id. at 19.)

 Plaintiff’s argument misses the point. The party to the contract is JLR Newport Beach. It’s
 JLR Newport Beach’s understanding and intent that matter here. And since JLR Newport
 Beach drafted the contract, it’s difficult to conceive it didn’t know what arbitration was when
 it decided to include an arbitration agreement in the contract. Especially since Plaintiff hasn’t
 offered any evidence on the issue of the knowledge of the drafter, despite bearing the burden
 of showing mistake. See Hess, 27 Cal. 4th at 525.

 Plaintiff hasn’t met her burden on mistake.


                                           CIVIL MINUTES - GENERAL
                                                   Page 6 of 9
Case 8:17-cv-01522-AG-DFM Document 24 Filed 12/04/17 Page 7 of 9 Page ID #:246




                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                              CIVIL MINUTES - GENERAL
  Case No.     SACV 17-01522 AG (DFMx)                             Date   December 4, 2017
  Title        ROBBIN ROTH v. JAGUAR LAND ROVER NORTH AMERICA, LLC
               ET AL.

          4.2 Claims against JLR North America

 The arbitration agreement at issue here was only between Plaintiff and one of the
 Defendants, JLR Newport Beach. JLR North America isn’t a party to the contract that
 contains the arbitration agreement. Plaintiff therefore contends that she shouldn’t be
 compelled to arbitrate her claims against JLR North America. Defendants argue that the
 “entire matter should be ordered to arbitration.” (Mot., Dkt. No. 16 at 9.) Just as the fate of
 each side’s arguments about unconscionability was determined in large part by the California
 Supreme Court’s Sanchez opinion, the merit of the parties’ arguments about JLR North
 America’s ability to compel arbitration turns on the Ninth Circuit decision, Kramer v. Toyota
 Motor Corp., 705 F.3d 1122 (9th Cir. 2013), and the doctrine of equitable estoppel.

 Before discussing Kramer more thoroughly though, here are a few words on Defendant’s
 arguments about that decision and about the doctrine of equitable estoppel. Because those
 arguments weren’t clearly articulated in Defendants’ moving papers, Plaintiff asserts that
 Defendants shouldn’t be allowed to make those arguments in their reply. (Opp’n, Dkt. No.
 22 at 25.) But Plaintiff discussed Kramer in depth in her opposition, and since a reply is a
 rebuttal to the arguments raised in an opposition, the Court here will allow Defendants to
 rebut Plaintiff’s arguments about Kramer.

 Turning, then, to the merits of the Kramer-related arguments, the Court finds that JLR North
 America may not compel Plaintiff to arbitrate her claims against it.

 Determining if Plaintiff’s claims against a nonsignatory defendant should be arbitrated
 doesn’t depend on the scope of the arbitration agreement, and it is properly within a district
 court’s authority. Kramer, 705 F.3d at 1126, 1128. A “litigant who is not a party to an
 arbitration agreement may invoke arbitration under the FAA if the relevant state contract law
 allows the litigant to enforce the agreement.” Id. at 1128 (citing Arthur Andersen LLP v.
 Carlisle, 556 U.S. 624, 632 (2009)). Under California law, a nonsignatory may invoke an
 arbitration agreement, relying on the doctrine of equitable estoppel in two types of situations:


                                         CIVIL MINUTES - GENERAL
                                                 Page 7 of 9
Case 8:17-cv-01522-AG-DFM Document 24 Filed 12/04/17 Page 8 of 9 Page ID #:247




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                CIVIL MINUTES - GENERAL
  Case No.      SACV 17-01522 AG (DFMx)                              Date    December 4, 2017
  Title         ROBBIN ROTH v. JAGUAR LAND ROVER NORTH AMERICA, LLC
                ET AL.

          (1) [W]hen a signatory must rely on the terms of the written agreement in
          asserting its claims against the nonsignatory or the claims are “intimately founded
          in and intertwined with” the underlying contract . . . and (2) when the signatory
          alleges substantially interdependent and concerted misconduct by the
          nonsignatory and another signatory and “the allegations of interdependent
          misconduct [are] founded in or intimately connected with the obligations of the
          underlying agreement.”

 Kramer, 705 F.3d at 1128–29 (citation omitted) (second alteration in original). Here,
 Defendants argue that Plaintiff’s claims against JLR North America are “intimately founded
 in and intertwined with” Plaintiff’s contract with JLR Newport Beach. (See Reply, Dkt. No.
 23 at 8.) But the Ninth Circuit determined in Kramer that under California law, claims
 brought by car purchasers against the car manufacturer for, among other things, breach of
 implied warranty and violation of California’s Consumers Legal Remedies Act were not
 intimately founded in the car purchase contracts. See Kramer, 705 F.3d at 1130–32.

 The Court finds that the present facts are similar enough to those in Kramer for that case to
 control here. The claims that Plaintiff purports to allege against JLR North America are
 claims for breach of implied warranty and violation of California’s Consumers Legal
 Remedies Act, just like in Kramer. And like the manufacturer in Kramer, JLR North America
 allegedly owes certain statutory duties to the end-buyers of the cars it distributes. These
 similarities are compelling, which is something that cannot be said of Defendants’ attempts
 to distinguish this case from Kramer. (See Reply, Dkt. No. 23 at 7–8.) Neither Plaintiff’s
 passing reference to the Defendants being agents of each other nor the presence of more
 than one defendant in this lawsuit would affect the Kramer analysis. And JLR North
 America’s warranty obligations, imposed by law, aren’t changed just because Plaintiff’s
 purchase contract states that JLR Newport Beach doesn’t disclaim the warranty of
 merchantability on the sale of certified used cars. So under Kramer, JLR North America may
 not rely on the doctrine of equitable estoppel to force Plaintiff into arbitration on the claims
 between them.


                                           CIVIL MINUTES - GENERAL
                                                   Page 8 of 9
Case 8:17-cv-01522-AG-DFM Document 24 Filed 12/04/17 Page 9 of 9 Page ID #:248




                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                              CIVIL MINUTES - GENERAL
  Case No.     SACV 17-01522 AG (DFMx)                              Date   December 4, 2017
  Title        ROBBIN ROTH v. JAGUAR LAND ROVER NORTH AMERICA, LLC
               ET AL.

 In conclusion, the arbitration agreement in the purchase contract requires that Plaintiff’s
 claims against JLR Newport Beach be arbitrated, but not her claims against JLR North
 America. If there are any issues involving stay, additional motions must be brought.

 5. DISPOSITION

 The Court GRANTS IN PART and DENIES IN PART the motion to compel arbitration as
 explained previously. (Dkt. No. 16.)

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                                                      Preparer




                                         CIVIL MINUTES - GENERAL
                                                 Page 9 of 9
